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  0 FPD        0 Appointed    0 CJA     0 Pro Per     ()CR.etained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
TABITHA SPEARING, PAISLIE MARCHANT, and SALLY                             CASE NUMBER:
POSTON, individually and on behalf of similarly situated persons,

 v.                                                 PLAINTIFF(S),
                                                                                                 5: 19-cv-00433-AB-SHK
 LLR, INC., a Wyoming Corpore        LULAROE, LLC, a California
 limited liability company; LENNON LEASING LLC, a Wyoming
 limited liability company; MARK A. STIDHAM, an individual;
 DEANNE S. BRADY a/kla DEANNE STIDHAM, an individual; and                                  NOTICE OF APPEAL
 DOES 1-30, inclusive                        DEFENDANT(S).



NOTICE IS HEREBY GIVEN thatTABITHA SPEARING,                           PAISLIE MARCHANT and SALLY POSTOtiJereby appeals               to
                                                                     Name ofAppellant
the United States Court of Appeals for the Ninth Circuit from:

  Criminal Matter                                                         Civil Matter
  0 Conviction only [F.R.Cr.P. 32(j)(l)(A)]                               Kl Order (specify):
  0 Conviction and Sentence                                               Doc. 40- ORDER granting Plaintiffs' un-opposed motion for an
  0 Sentence Only (18 U.S.C. 3742)                                        order dismissing this action with prejudice and vacating hearing
  D Pursuant to F.R.Cr.P. 32(j)(2)                                        0 Judgment (specify):
  0 Interlocutory Appeals
  0 Sentence imposed:
                                                                          0 Other (specify):

  D Bail status:



                                                _ _. Entered on the docket in this action on .....l.....0....,/1....,.0.-12__0__1~9_ _ _ _ __
Imposed or Filed on __O_ct_o_b_er_l0....:.,_2_0_19

A copy of said judgment or order is attached hereto.


November 7. 2019
Date
                                                                                                                        0 Deputy Clerk

Note:      The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
           anomeys for each pany. Also. if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
           of copies of the Notice of Appeal to pennit prompt compliance with the service requirements ofFRAP 3(d).



A-2 (01 /07)                                                 NOTICE OF APPEAL
Case
Case 5:19-cv-00433-AB-SHK
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                                   43 Filed
                                      Filed 10/10/19
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                                                                         #:1596




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL


Case No.:           ED CV 19-00433-AB (SHKx)                             Date:     October 10, 2019


Title:    Tabitha Sperring et al. v. LLR, Inc. et al.


Present: The Honorable         ANDRE BIROTTE JR., United States District Judge
                   Carla Badirian                                             N/A
                    Deputy Clerk                                        Court Reporter

    Attorney(s) Present for Plaintiff(s):                    Attorney( s) Present for Defendant( s):
                   None Appearing                                      None Appearing


Proceedings:          [In Chambers] ORDER granting Plaintiffs' un-opposed motion
                      for an order dismissing this action with prejudice and
                      VACATING hearing

          Before the Court is Plaintiffs Tabitha Sperring, Paislie Marchant, and Sally
  Poston's ("Plaintiffs") motion for a voluntary dismissal with prejudice under
  Federal Rule of Civil Procedure 41(a)(2). (Dkt. No. 33). Defendants LuLaRoe,
  LLC, LLR, Inc., Lennon Leasing, LLC, Mark Stidham, and DeAnne Brady have
  filed a notice of non-opposition to Plaintiffs' motion. (Dkt. No. 38). The Court
  accordingly GRANTS Plaintiffs' motion for a voluntary dismissal with prejudice
  under Rule 41(a)(2). The hearing on this motion, scheduled for October 11, 2019,
  is VACATED.

           IT IS SO ORDERED.




   CV-90 (12/02)                    CIVIL MINUTES- GENERAL                       Initials of Deputy Clerk CB
